Case 5:14-cV-00562-D Document 15 Filed 03/19/15 Page 1 of 1

IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

1) ALI RAZAVI,
Plaintiff

...VS...~

1) THE CITY OF BETHANY

Defendant

CIV-ZO 14-562-1)

STIPULATION OF DISMISSAL WITH PREJUDICE

Corne now the parties, by and through their counsel of record, and, pursuant to Rule 41(a)

(1)(A) (ii) of the Federal Rules of Civil Procedure, hereby Stipulate that the above entitled cause of

action be dismissed With prejudice to the right of the Plaintiff to bring any further action against the

Defendant, each party to bear his/its own costs and attorney fees incurred to date.

Dated this /q£k` day of March, 2015.

/S/ J eff A. Tavlor

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